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                                                                  ADAM AL- ASAD

                        UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF PENSYLVANIA


ADAM AL-ASAD                       :
2031 S. 13TH STREET APT. 3         :
PHILADELPHIA, PA 19148             :                              CIVIL ACTION
                                   :
                    PLAINTIFF      :                              NO.
           v.                      :
PHILADELPHIA POLICE OFFICER JOHN DOE:                             JURY TRIAL DEMANDED
      and                          :
CITY OF PHILADELPHIA               :
                                                          :
                                 DEFENDANTS               :


                                             COMPLAINT

        1.      This is a complaint for money damages brought pursuant to 42 U.S.C. §1983 and 1988,

as well as the Fourth and Fourteenth Amendments to the United States Constitution, and under the

Constitution of the Commonwealth of Pennsylvania. Jurisdiction is based upon 28 U.S.C. §1331 and

1343 and, pendent jurisdiction of this court to consider claims under state law.

                                                PARTIES

        2.      Plaintiff, Adam Al-Asad, is at all times relevant to this Complaint, an adult

resident of the City of Philadelphia, Pennsylvania.

        3.      Defendant, Philadelphia Police Officer John Doe is all times relevant to this

Complaint a Police Officer with the Philadelphia Police Department.

        4.      Defendant City of Philadelphia, Pennsylvania is a municipal corporation and the public

employer of the Defendant Police Officer John Doe.


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                                              FACTS

       5.      On Saturday, May 30, 2020, Plaintiff, Adam Al- Asad, asserted his rights under

the First Amendment of the United States Constitution by joining George Floyd/Black Live

Matter Protests in Philadelphia, Pennsylvania.

       6.      Plaintiff was invited to join the protest by a friend. On May 30, 2020 Plaintiff Al-

Asad arrived in Center City Philadelphia, Pennsylvania around mid-day. Upon his arrival

Plaintiff Al-Asad observed the crowd of protesters and could hear the police sirens. Plaintiff Al-

Asad and a friend joined the protest march in the area of Broad Street and Race Street in Center

City Philadelphia, PA. Shortly after joining the protest Plaintiff Al-Asad witnessed police

officers beating protesters with batons and spraying the protesters with pepper spray.

       7.      While peacefully protesting with many others in the area of Broad Street and

Race Street, Plaintiff Al-Asad was struck in the face with pepper causing his eyes to burn.

Immediately, Plaintiff Al-Asad fled from Broad and Race Street to Dilworth Plaza outside of

City Hall.

       8.      While at Dilworth Plaza Plaintiff Al-Asad observed a line of police officers

surrounding the Starbucks while emergency personnel extinguished a fire at that location.

While Plaintiff Al-Asad was watching the fire crew he observed a line of Philadelphia Police

Officers on bicycles riding through the crowd towards the line of Police Officers blocking the

Starbucks.

   9. Plaintiff Al-Asad was standing with a crowd of onlookers when Defendant Philadelphia

Police Officer John Doe, a bicycle officer, without just cause or legal justification, struck

Plaintiff Al-Asad in the back with a metal pole. The force of the blow from Defendant Police

Officer John Doe caused Plaintiff Al-Asad to fall to his knee which caused an injury to his knee.



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Plaintiff Al-Asad suffering from pain in his back and knee turned to see the Defendant

Philadelphia Police Officer John Doe staring at the him. Plaintiff Al-Asad assisted Plaintiff Al-

Asad to his feet. Once the Plaintiff Al-Asad was on his feet he observed the metal pole on the

ground.

        10.     After striking Plaintiff Al-Asad in the back with a metal pole, the Defendant

Philadelphia Police Officer John Doe joined the line of officers surrounding the Starbucks and

started speaking to a police supervisor. Plaintiff approached the Defendant to talk to him about

what happened. Defendant Philadelphia Police Officer John Doe and the Police supervisor both

laughed at Plaintiff Al-Asad and ignored his request for an explanation as to why he was

assaulted. Plaintiff Al-Asad then requested medical assistance for his injury and both Defendant

Philadelphia Police Officer John Doe and the unknown Police supervisor refused to call for

medical assistance.

        11.     Eventually, Plaintiff Al-Asad was taken to Jefferson Hospital by a friend. Once at

Jefferson Hospital Plaintiff Al-Asad was treated for a bruised tailbone and bruises on his lower

back.

        12.      As the result of the actions by Defendant Philadelphia Police Officer John Doe

Plaintiff Al-Asad, suffered physical injuries to his lower back, pain and suffering, psychological

and emotional distress, some of which may be permanent.

                                             COUNT I

        EXCESSIVE FORCE BY DEFENDANT PHILADELPHIA POLICE OFFICER
                    JOHN DOE PURSUANT TO 42 U.S.C. §1983

        13.     Paragraphs 1 through 12 of this Complaint are incorporated herein by reference

        14.     On May 30, 2020, Defendant Philadelphia Police Officer John Doe, acted without

just cause or legal justification, did with deliberate indifference use excessive force upon the

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Plaintiff by unlawfully striking the Plaintiff in the back with a metal pole while the Plaintiff

posed no threat to Defendant Philadelphia Police Officer John Doe or anyone else.

         15.     As a direct and proximate cause of the Defendant’s unlawful use of excessive

force, the Plaintiff suffered physical pain and injuries. Additionally, the Plaintiffs suffered, and

continues to suffer psychological and emotional injury as a result of the actions of Defendant

Philadelphia Police Officer John Doe.

         16.     The Defendant Philadelphia Police Officer John Doe, acting under the color of

state law, violated the Plaintiff’s right to be free from the use of excessive force under the Fourth

Amendment of the United States Constitution, as well as 42 U.S.C. Section 1983.

                                  COUNT II
                     RETALIATION AGAINST FREE EXPRESSION
                DEFENDANT PHILADELPHIA POLICE OFFICER JOHN DOE

         17.     Paragraphs 1 through 16 are incorporated herein by reference as though fully set

forth.

         18.     Defendant Philadelphia Police Officer John Doe did cause the unlaw retaliation

again the Plaintiff’s free speech and expression and constitutional rights to protest.

                                            COUNT III

                   COMMON LAW ASSAULT AND BATTERY AGAINST
                DEFENDANT PHILADELPHIA POLICE OFFICER JOHN DOE

         19.     Paragraphs 1 through 18 are incorporated herein by reference as though fully set

forth.

         20.     On May 30, 2020, Defendant Philadelphia Police Officer John Doe did

knowingly, intentionally, maliciously, recklessly, and/ or negligently commit an assault and

battery upon Plaintiff Al-Asad, resulting in physical injury which caused physical and emotional

pain, and suffering.

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       21.     The actions and conduct of Defendant Philadelphia Police Officer exceeded the

normal standards of decent conduct and were willful, malicious, oppressive, outrageous, and

unjustifiable and therefor, punitive damage is necessary and appropriate.

                               CITY OF PHILADELPHIA
                               PURSUANT TO 42 U.S.C. §1983

       22.     Paragraphs 1 through 21of this Complaint are incorporated herein by reference.

       23.     Pursuant to 42 U.S.C §1983, the City of Philadelphia developed and maintained

practices exhibiting deliberate indifference to the constitutional rights of individuals including

the policy regarding use of force which caused the violation of the Plaintiff’s rights under the

Fourth and Fourteenth Amendments of the United States Constitution in this case.

       24.     Defendant, City of Philadelphia, as a matter of policy and practice and/or custom

has with deliberate indifference, failed to adequately and properly investigate claims of the use

of excessive force generally, and specifically claims regarding excessive use of force against

peaceful protesters. This policy and practice caused the Defendant officer in this case to engage

in unlawful conduct described above.

       25.     Defendant, City of Philadelphia, as a matter of policy and/or custom has with

deliberate indifference, failed to adequately and properly supervise and train police officers,

including the Defendants in this case, regarding the constitutional rights of residents and visitors

of Philadelphia generally, and specifically, claims of excessive force against protesters, thereby

failing to adequately discourage further such constitutional violations on the part of its police

officers. The City of Philadelphia did not require appropriate in-service training or retraining of

its officers who were known to have engaged in the use of excessive force generally, and

specifically, use of excessive force against peaceful protesters exercising their rights under the

First Amendment of the United States Constitution. The failure to properly supervise and train

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the Defendant police officers including the Defendant Philadelphia Police Officer John Doe in

this case, caused the Defendant officers to engage in the unlawful conduct described above.

       26.      Defendant, City of Philadelphia, as a matter of policy and practice and/ or custom

has with deliberate indifference failed to adequately and properly discipline and sanction police

officers, including the Defendant in this case, regarding the constitutional rights of the residents

and visitors of Philadelphia generally, and those of peaceful protesters in particular, to be free

from excessive use of force, thereby failing to adequately discourage further excessive use of

force on the part of its police officers. The City of Philadelphia failed to discipline and sanction

those officers engaged in conduct which violated the Fourth and First Amendment rights of

residents and visitors of Philadelphia generally, and peaceful protesters in particular, thereby

causing and encouraging police, including the Defendants in this case, to engage in the unlawful

conduct described above.

       27.     As a result of the above- described policies and customs, police officers of the

City of Philadelphia, including the Defendant Philadelphia Police Officer John Doe believe that

their actions would not be properly monitored by supervisory officers and that their misconduct

would not be investigated or sanctioned, but rather would be tolerated.

       28.     The above- described policies and customs demonstrate a deliberate indifference

on the part of the policymakers of the City of Philadelphia, to the constitutional rights of the

persons within the City of Philadelphia, including those exercising their First Amendment rights,

specifically, the right to be free from excessive use of force under the Fourth Amendment of the

United States Constitution and 42 U.S.C. Section 1983, and therefore, caused the violation of

Plaintiffs’ rights alleged herein




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        29.     As a direct and proximate cause of the Defendants’ unlawful actions, the

individual Plaintiff suffered physical injuries, psychological and emotional distress, pain and

suffering, all of which will be established as trial.

        WHEREFORE, Plaintiff respectfully request the following relief:

                (a)     Compensatory damages to the Plaintiff against the Defendants; .

                (b)     Punitive damages to the Plaintiff against the Defendants;

                (c)     Reasonable attorney’s fees and costs to the Plaintiff;

                (d)     Such other and further relief as appears reasonable and just.




                                                /s/ Paul J. Hetznecker, Esquire
                                                Paul J. Hetznecker, Esquire
                                                Attorney for Plaintiff
Date: November 29, 2021




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